Dear Dr. Mallory:
This letter is in response to your request for our review and certification of the Department of Elementary and Secondary Education's Annual Program Plan for Adult Education Programs under the Adult Education Act of 1970, as amended.
Our review has taken into consideration the Adult Education Act of 1970, 20 U.S.C. § 1201 et seq., as amended; the federal regulations applicable to such act, (45 C.F.R. parts 100, 166, 167); Article III, Section 38(a), Article IV, Section 15, and Article IX, Sections 1(b), 2(a) and 2(b), Missouri Constitution; Sections 161.092, 171.096 and 178.430, RSMo 1969; and Section171.091, RSMo Supp. 1975, and related provisions.
It is the opinion of this office that:
         1.  The Missouri State Department of Elementary and Secondary Education is the state agency primarily responsible for the state supervision of public elementary and secondary schools and is, therefore, the "State education agency" as that term is defined in 20 U.S.C. § 1202(h).
         2.  The Department of Elementary and Secondary Education has the authority under state law to submit this Annual Program Plan.
         3.  The State Treasurer has authority under state law to receive, hold and disburse federal funds under the Annual Program Plan.
         4.  All of the provisions of the foregoing plan are consistent with state law.
Very truly yours,
                                  JOHN ASHCROFT Attorney General